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 5
     Attorney for Defendant
 6   DINO ROSETTI
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  ) Case No. CR-S-08-474 EJG
                                                )
12                         Plaintiff,           ) STIPULATION AND ORDER
                                                ) CONTINUING STATUS CONFERENCE
13          v.                                  )
                                                ) Date: April 24, 2009
14                                              ) Time: 10:00 a.m.
                                                ) Judge: Hon. Edward J. Garcia
15   DINO ROSETTI                               )
                                                )
16                Defendants.
     __________________________
17
            IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, PHILLIP FERRARI, Assistant United States
19
     Attorney, attorney for Plaintiff, and MARK J. REICHEL, Esq., attorney
20
     for defendant, DINO ROSETTI, that the present date for the status
21
     hearing be vacated and re calendared for April 24, 2009.
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            This continuance is requested as defense counsel needs adequate
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     time to prepare for the case, the parties are in negotiations to
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     resolve the matter, the government attorney will be in a 2 week jury
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     trial, and the defense has received a large volume of discovery and
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     will be researching for motions to file.
27
28   Stip and Order continuing status hearing
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 1          Accordingly, all counsel and defendant agree that time under the
 2   Speedy Trial Act from the date this stipulation is lodged, through
 3   April 24, 2009 should be excluded in computing the time within which
 4   trial must commence under the Speedy Trial Act, pursuant to Title 18
 5   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 6   DATED: March 18, 2009.        Respectfully submitted,
 7                                       MARK J. REICHEL, ESQ.
 8                                       /s/ MARK J. REICHEL
                                         MARK J. REICHEL
 9                                       Attorney for defendant
                                         DINO ROSETTI
10
11                                       LAWRENCE BROWN
                                         United States Attorney
12
13   DATED: March 18, 2009.              /s/MARK J. REICHEL for:
                                         PHILLIP FERRARI
14                                       Assistant U.S. Attorney
                                         Attorney for Plaintiff
15
16                                       O R D E R
17          IT IS SO ORDERED.     Time is excluded in the interests of justice
18   pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
19
20   DATED: March 18, 2009.
21                                  /s/ Edward J. Garcia
                                   THE HONORABLE EDWARD J. GARCIA
22                                 Senior, United States District Court Judge
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     Stip and Order                            2
